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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              8:16CR331
                Plaintiff,
     vs.
                                                         ORDER
BERNARDO WILLIAMS-
JAUREGUI,
                Defendant.


     IT IS ORDERED that:

     1.    The defendant’s unopposed Motion to Continue Sentencing (filing
           251) is granted.

     2.    Defendant Bernardo Williams-Jauregui’s sentencing is continued
           to August 23, 2018, at 2:30 p.m., before the undersigned United
           States District Judge, in Courtroom No. 1, Roman L. Hruska
           Federal Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
           The defendant shall be present at the hearing.

     Dated this 20th day of June, 2018.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
